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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 ELI LILLY AND COMPANY, et al.,
                           Plaintiffs,
                      v.                         Case No. 1:24-cv-3220 (DLF)

 ROBERT F. KENNEDY JR., et al.,
                           Defendants.

 SANOFI-AVENTIS U.S. LLC
                           Plaintiff,
                      v.                         Case No. 1:24-cv-3496 (DLF)

 ROBERT F. KENNEDY JR., et al.,
                           Defendants.

 BRISTOL MYERS SQUIBB COMPANY,
                           Plaintiff,
 v.                                              Case No. 1:24-cv-3337 (DLF)

 ROBERT F. KENNEDY JR., et al,
                           Defendants.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,
                           Plaintiff,            Case No. 25-cv-0117 (DLF)
 v.
 ROBERT F. KENNEDY JR., et al,
                           Defendants.


    340B HEALTH, UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
                      HEALTHCARE SYSTEM’S
CROSS MOTION FOR SUMMARY JUDGMENT AND OPPOSITION TO PLAINTIFFS’
                 MOTIONS FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Intervenor Defendants respectfully file

this consolidated Cross Motion for Summary Judgment and Opposition to Plaintiffs’ Motions for
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Summary Judgment. In support of this Motion, Intervenor Defendants are submitting a

memorandum in support, a declaration of Maureen Testoni, and a proposed order. For the

reasons explained in the memorandum in support, the Court should grant Intervenor Defendants’

Cross Motion for Summary Judgment, deny Plaintiffs’ Motions for Summary Judgment, and

dismiss the case with prejudice.



 Dated: March 18, 2025                            Respectfully submitted,




                                                  William B. Schultz (D.C. Bar No. 218990)
                                                  Margaret M. Dotzel (D.C. Bar No. 425431)
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                                 CERTIFICATE OF SERVICE

       I certify that on March 18, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.



                                                                 William B. Schultz




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